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                                  UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION


 DONELLA G. CRIST,

                                    Plaintiff,                 Civil Action No. 3:19-cv-497
 v.
                                                               Removed from Circuit Court for the City
 THE DUNLOP HOUSE, LLC,                                        of Colonial Heights, Case No. 570 CL 19-
                                                               238
                                    Defendant.



                                          NOTICE OF REMOVAL

           Pursuant to 28 U.S.C. §§ 1331, 1441(a), and 1446, Defendant The Dunlop House LLC

(“Defendant”), by counsel, hereby removes the above-captioned action from the Circuit Court

for the City of Colonia Heights, Virginia, to this Court.

              1.      On May 21, 2019, Donella G. Crist (“Plaintiff”) filed a Complaint in the Circuit

  Court for the City of Colonial Heights, Case No. 570 CL 19-238. A copy of Plaintiff’s

  Complaint is attached as Exhibit A.

              2.      Defendant was served with the Complaint on June 19, 2019. No other pleading

  or summons in this action had been served previously on Defendant. As such, this Notice is

  timely filed within thirty days after the date on which Defendant received an initial pleading.

  See 28 U.S.C. § 1446(b)(1). Defendant has not yet answered or responded to the Complaint.

  The time to do so has not yet expired.

         3.          As set forth in the Complaint, “[t]his action is brought . . . to enforce the

statutory and regulatory provisions of Title I of the Americans with Disabilities Act (“ADA”), 42

U.S.C. § 12111 et. seq. . . .” Complaint ¶ 1.



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         4.          Accordingly, removal is proper under 28 U.S.C. § 1441(a) because this civil

action “aris[es] under the . . . laws . . . of the United States,” 28 U.S.C. § 1331—namely, the

ADA.

         5.          This action is appropriately removed to this Court as the United States District

Court for the district and division embracing the place where the original action was filed. See

28 U.S.C. § 1446(a).

          6.          A copy of this Notice and written notification of its filing will be served on

Plaintiff promptly and contemporaneously filed with the Clerk of the Circuit Court for the City

of Colonial Heights. See 28 U.S.C. § 1446(d).

          7.          Pursuant to Fed. R. Civ. P. 81(c)(2)(C), Defendant will file a responsive

pleading within seven days of the filing of this Notice of Removal.

         WHEREFORE, Defendant The Dunlop House, by counsel and pursuant to 28 U.S.C. §

1441 et seq., removes this action from the Circuit Court for the City of Colonial Heights,

Virginia, case number 570CL19-238, to the United States District Court for the Eastern District

of Virginia, Richmond Division, and respectfully requests that this action proceed in this Court

as an action properly removed to it.

Dated: July 9, 2019.




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                                            Respectfully submitted,

                                            THE DUNLOP HOUSE, LLC

                                            By:               /s/
                                                   J. Fielding Douthat, Jr.

J. Fielding Douthat, Jr.
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                                        Certificate of Service

        I hereby certify that, on July 9, 2019, I caused a true and correct copy of Defendant’s

Notice of Removal to be served on the following by Overnight Delivery:

                                Donella G. Crist
                                26388 Mason Road
                                Jarrett, Virginia 23867
                                         Plaintiff Pro Se

                                                        /s/
                                                J. Fielding Douthat, Jr.
                                                VSB No. 46812
                                                Woods Rogers PLC
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